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 7
   Attorneys for Arch & Beam Global, LLC,
 8 the Plan Administrator
 9
                            UNITED STATES BANKRUPTCY COURT
10
                            NORTHERN DISTRICT OF CALIFORNIA
11
                                     OAKLAND DIVISION
12
13
     In re                                         Case No. 14-41045-RLE
14                                                 Case No. 14-41048-RLE
   SECOND STREET PROPERTIES, a
15 California corporation, f/k/a PACIFIC STEEL     Chapter 11
   CASTING COMPANY,
16                                                 Cases Jointly Administered
                        Debtor.
17                                                 REQUEST FOR ENTRY OF ORDER BY
                                                   DEFAULT GRANTING RELIEF
18                                                 REQUESTED IN:

19                                                 NINTH MOTION TO EXTEND
                                                   DEADLINE TO OBJECT TO CLAIMS
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Case:SMRH:490086515.1
      14-41045 Doc# 942      Filed: 04/16/19
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                                                                         REQUEST FOR DEFAULT
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 1                  TO THE UNITED STATES BANKRUPTCY COURT, THE UNITED

 2 STATES TRUSTEE, AND CERTAIN OTHER PARTIES IN INTEREST:
 3                  Arch & Beam Global, LLC, in its capacity as plan administrator (“Plan

 4 Administrator”), hereby requests that the Court enter an order by default, in the form attached
 5 hereto as Exhibit 1, granting the relief requested in the Ninth Motion to Extend Deadline to Object
 6 to Claims (the “Motion”) filed on March 22, 2019 as Docket No. 940. By the Motion, the Plan
 7 Administrator sought an order extending the deadline to object to claims (the “Claim Objection
 8 Deadline”) for six months through and including September 26, 2019.
 9                  Concurrently with the filing of the Motion , the Plan Administrator filed a Notice

10 and Opportunity for Hearing on the Motion under Bankruptcy Local Rule 9014-1(b)(3) (the
11 "Notice"). The Plan Administrator served a copy of the Motion, the Notice, and all supporting
12 papers on the United States Trustee and certain other parties in interest, as set forth in the
13 certificate of service filed as Docket No. 940-2. Any party wishing to object to the relief sought in
14 the Motion had until April 15, 2018 to file an objection or request a hearing on the Motion.
15                  As set forth in the Declaration of Michael M. Lauter in support of this Request for

16 Default, the Plan Administrator has received no objection to the Motion or request for hearing
17 thereon as the date of this request for default, despite proper service of the Motion. A copy of the
18 Motion, the Notice, and the Declaration of Michael Lauter filed in support of the Motion are
19 attached hereto as Exhibit 2. A copy of the certificate of service of the Motion and the Notice is
20 attached hereto as Exhibit 3.
21                  WHEREFORE, the Plan Administrator requests that the Court grant this Request

22 for Default and enter an order in the form attached hereto as Exhibit 1:
23                  1.      Granting the Motion;

24                  2.      Extending the Claim Objection Deadline to September 26, 2019, without

25 prejudice to seek further extensions; and
26                  3.      Granting such other and further relief as this Court deems just and

27                  appropriate.

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                                                                              REQUEST FOR DEFAULT
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 1 DATED: April 16, 2019
 2                               SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 3
 4                               By                     /s/ Michael M. Lauter
                                                       MICHAEL M. LAUTER
 5
                                         Attorneys for ARCH & BEAM GLOBAL, LLC, PLAN
 6
                                                         ADMINISTRATOR
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                                                                     REQUEST FOR DEFAULT
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                      EXHIBIT 1




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   Attorneys for Arch & Beam Global, LLC,
 8 the Plan Administrator
 9
                            UNITED STATES BANKRUPTCY COURT
10
                            NORTHERN DISTRICT OF CALIFORNIA
11
                                     OAKLAND DIVISION
12
13
     In re                                         Case No. 14-41045-RLE
14                                                 Case No. 14-41048-RLE
   SECOND STREET PROPERTIES, a
15 California corporation, f/k/a PACIFIC STEEL     Chapter 11
   CASTING COMPANY,
16                                                 Cases Jointly Administered
                        Debtor.
17                                                 [PROPOSED] ORDER GRANTING
                                                   NINTH MOTION TO EXTEND
18                                                 DEADLINE TO OBJECT TO CLAIMS

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                                                                                PROPOSED
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 1                 The Court having considered the Ninth Motion to Extend Deadline to Object to

 2 Claims (the “Motion”) filed by Arch & Beam Global, LLC, in its capacity as plan administrator
 3 (“Plan Administrator”) on March 22, 2019 as Docket No. 940 and all other pleadings filed in
 4 support thereof, and the Court finding that notice of the Motion was sufficient, and good cause
 5 appearing therefor,
 6                 IT IS HEREBY ORDERED THAT:

 7          1.     The Motion is GRANTED.

 8          2.     The deadline to object to claims (the “Claim Objection Deadline”) is hereby

 9 extended for six months, through and including September 26, 2019.
10          3.     The extension of time granted herein is without prejudice to the Plan

11 Administrator’s ability to request additional time should it become necessary.
12                                     *** END OF ORDER ***

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                      EXHIBIT 2




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  7
    Attorneys for Arch & Beam Global, LLC,
  8 the Plan Administrator
  9
 10                         UNITED STATES BANKRUPTCY COURT
 11                         NORTHERN DISTRICT OF CALIFORNIA
 12                                   OAKLAND DIVISION
 13
 14 In re                                          Case No. 14-41045-RLE
                                                   Case No. 14-41048-RLE
 15 SECOND STREET PROPERTIES, a
    California corporation, f/k/a PACIFIC          Chapter 11
 16 STEEL CASTING COMPANY,
                                                   Cases Jointly Administered
 17                       Debtor.
                                                   NINTH MOTION TO EXTEND
 18 In re                                          DEADLINE TO OBJECT TO CLAIMS
 19 BERKELEY PROPERTIES, LLC, a                    [No Hearing Required Unless Requested]
    California limited liability company,
 20
                          Debtor.
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  1                Arch & Beam Global, LLC, in its capacity as plan administrator (“Plan
  2 Administrator”) appointed under the Debtors’ and Committee’s Second Amended Joint
  3 Chapter 11 Plan of Reorganization Dated April 30, 2015 (the “Plan”) (Dkt. No. 589)
  4 hereby files this Seventh Motion to Extend Deadline to Object to Claims (the “Motion”).
  5                The current deadline to object to claims is March 26, 2019 (the “Claim
  6 Objection Deadline”). Pursuant to this Motion, the Plan Administrator seeks an order
  7 extending the Claim Objection Deadline for six months, through and including
  8 September 26, 2019.
  9                                      I. BACKGROUND
 10 A. The Bankruptcy Cases
 11                The debtors Second Street Properties, f/k/a Pacific Steel Casting Company
 12 (“Second Street”) and Berkeley Properties, LLC (“Berkeley Properties,” together with
 13 Second Street the “Debtors”) commenced the above-captioned bankruptcy cases (the
 14 “Bankruptcy Cases”) under Chapter 11 of Title 11 of the United States Code on March 10,
 15 2014.
 16                The Debtors and the Official Committee of Unsecured Creditors (the
 17 “Committee”) jointly proposed and filed the Plan on or around April 30, 2015 (see, Dkt.
 18 No. 589). This Court entered its order confirming the Plan on July 1, 2015 (see, Dkt. No.
 19 535).
 20                The Effective Date of the Plan occurred on September 30, 2015. Due to the
 21 occurrence of the Effective Date, the primary representative of the above-captioned
 22 Debtors’ estates in claims objection proceedings is Arch & Beam Global, LLC, in its
 23 capacity as Plan Administrator.
 24 B. Claims Objection Deadline
 25                Pursuant to the Plan, the deadline to object to claims was 120 days after the
 26 Effective Date, or January 28, 2016, with the Plan Administrator and other interested
 27 parties retaining the right to seek extensions of the deadline.
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  1                On January 27, 2016, the Plan Administrator filed its Motion to Extend
  2 Deadline to Object to Claims (Dkt. 766) (the “First Motion”), seeking an extension of the
  3 Claim Objection Deadline to May 26, 2016. The Court entered an order granting the First
  4 Motion on February 22, 2016 (Dkt. 774). On May 25, 2016, the Plan Administrator filed
  5 its Second Motion to Extend Deadline to Object to Claims (Dkt. 789), seeking an extension
  6 of the Claim Objection Deadline to September 26, 2016 (the “Second Motion”). The Court
  7 entered an order granting the Second Motion on June 20, 2016 (Dkt. 801). On September
  8 16, 2016, the Plan Administrator filed its Third Motion to Extend Deadline to Object to
  9 Claims, seeking an extension of the Claim Objection Deadline to January 26, 2017 (Dkt.
 10 830). The Court entered an order granting the Third Motion on October 11, 2016 (dkt.
 11 833). On January 25, 2017, the Plan Administrator filed its Fourth Motion to Extend
 12 Deadline to Object to Claims (the “Fourth Motion”) (Dkt. 905), seeking an extension of
 13 the Claim Objection Deadline to May 26, 2016. The Court entered an order granting the
 14 Fourth Motion on February 21 2017 (dkt. 908). On May 25, 2017, the Plan Administrator
 15 filed its Fifth Motion to Extend Deadline to Object to Claims, seeking an extension of the
 16 Claim Objection Deadline to September 26, 2017 (the “Fifth Motion”) (dkt. 910). The
 17 Court entered an order granting the Fifth Motion on June 20, 2017. On September 26,
 18 2017, the Plan Administrator filed its Sixth Motion to Extend Deadline to Object to Claims,
 19 seeking an extension of the Claim Objection Deadline to March 26, 2018 (the “Sixth
 20 Motion”) (dkt. 915). The Court entered an order granting the Sixth Motion on October 23,
 21 2017 (dkt. 919). On March 22, 2018, the Plan Administrator filed its Seventh Motion to
 22 Extend Deadline to Object to Claims, seeking an extension of the Claim Objection
 23 Deadline to September 26, 2018 (the “Seventh Motion”) (dkt. 924). The Court entered an
 24 order granting the Seventh Motion on April 13, 2018 (dkt. 929).
 25                On September 14, 2018, the Plan Administrator filed its Eighth Motion to
 26 Extend Deadline to Objection to Claims (the “Eighth Motion”) (dkt. 933), seeking an
 27 extension of the Claim Objection Deadline to March 26, 2019. On October 16, 2018, the
 28 Court entered an Order approving the Eighth Motion (the “Order”), which Order provided

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  1 that “the extension of time granted herein is without prejudice to the Plan Administrator’s
  2 ability to request additional time should it become necessary.” (Order, ¶3)
  3                                        II. ARGUMENT
  4                Good cause exists to grant the requested six month extension of the Claim
  5 Objection Deadline to September 26, 2019. There are several hundred claims filed and
  6 scheduled in these cases, most of them in the Second Street Properties case. While the
  7 Plan Administrator has completed its process of reviewing and objecting to the claims in
  8 these cases, the Second Street Properties estate remains secondarily liable for any ERISA
  9 withdrawal liability triggered by Pacific Steel Casting Company LLC, the Court-approved
 10 buyer of its former steel casting business (the “PSCC”), until July 1, 2020.
 11                In October of 2017, PSCC announced that it would be shutting down its
 12 business operations, and recently filed a Chapter 7 bankruptcy case (Case No. 19-40193).
 13 On December 28, 2017, the Plan Administrator received a letter from the pension trust
 14 overseeing the multi-employer pension plan that covered Second Street Properties’ former
 15 employees and the current employees of the buyer of the steel casting business asserting
 16 that in excess of $24 million in withdrawal liability under ERISA has now been triggered
 17 due to PSCC’s cancellation of a bond. The Debtors submitted a timely response and
 18 challenge to the asserted withdrawal liability, though the parties have not proceeded to
 19 litigation over the amount of withdrawal liability as they are continuing to focus on
 20 working together to sell the real estate owned by Berkeley Properties which serves as
 21 collateral for the asserted withdrawal liability. The Plan Administrator expects the sale
 22 process to take at least several more months, and possibly longer. Thus, in order to
 23 preserve the ability to object to the pension trust’s withdrawal liability claim, the Plan
 24 Administrator would like to extend the Claim Objection Deadline for six months, to
 25 September 26, 2019.
 26                The Motion is timely as it is being filed prior to the expiration of the current
 27 Claim Objection Deadline.
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  1                                    III.   CONCLUSION
  2                Based on the foregoing, the Plan Administrator respectfully requests that this
  3 Court enter an order extending the Claims Objection Deadline through and including
  4 September 26, 2019 without prejudice to further extensions.
  5
  6 Dated: March 22, 2019
  7                                   SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
  8
                                      By                      /s/ Michael M. Lauter
  9                                                        MICHAEL M. LAUTER
 10                                                          Attorneys for
 11                                                   ARCH & BEAM GLOBAL, LLC,
                                                        PLAN ADMINISTRATOR
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  8 Attorneys for Arch & Beam Global, LLC,
    the Plan Administrator
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 10
                              UNITED STATES BANKRUPTCY COURT
 11
                              NORTHERN DISTRICT OF CALIFORNIA
 12
                                       OAKLAND DIVISION
 13
      In re                                          Case No. 14-41045-RLE
 14                                                  Case No. 14-41048-RLE
    SECOND STREET PROPERTIES, a
 15 California corporation, f/k/a PACIFIC            Chapter 11
    STEEL CASTING COMPANY,
 16                                                  Cases Jointly Administered
                  Debtor.
 17                                                  DECLARATION OF MICHAEL M.
    In re                                            LAUTER IN SUPPORT OF NINTH
 18                                                  MOTION TO EXTEND DEADLINE
    BERKELEY PROPERTIES, LLC, a                      TO OBJECT TO CLAIMS
 19 California limited liability company,
                                                     [No Hearing Required Unless Requested]
 20                 Debtor.
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                                                                                       DECLARATION
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  1          I, Michael M. Lauter, declare as follows:
  2          1.     I am an attorney licensed to practice law in the State of California and am
  3 admitted before this Court. I am a partner with the law firm of Sheppard, Mullin, Richter
  4 & Hampton LLP (“Sheppard Mullin”), counsel Arch & Beam Global, LLC, in its capacity
  5 as plan administrator (“Plan Administrator”). I make this declaration in that capacity.
  6 Except for those statements made upon information and belief, the following facts are
  7 based upon my personal knowledge and if called to testify, I could and would competently
  8 testify to such facts. As to those statements made upon information and belief, I believe
  9 them to be true.
 10          2.     I make this declaration in connection with the Plan Administrator’s Ninth
 11 Motion to Extend Deadline to Object to Claims (the “Motion”). The Motion is filed
 12 concurrently with this declaration.
 13          3.     The debtors Second Street Properties, f/k/a Pacific Steel Casting Company
 14 (“Second Street”) and Berkeley Properties, LLC (“Berkeley Properties,” together with
 15 Second Street the “Debtors”) commenced the above-captioned bankruptcy cases (the
 16 “Bankruptcy Cases”) under Chapter 11 of Title 11 of the United States Code on March 10,
 17 2014.
 18          4.     The Debtors and the Official Committee of Unsecured Creditors (the
 19 “Committee”) jointly proposed and filed the Plan on or around April 30, 2015 (see, Dkt.
 20 No. 589). This Court entered its order confirming the Plan on July 1, 2015 (see, Dkt. No.
 21 535).
 22          5.     The Effective Date of the Plan occurred on September 30, 2015. Due to the
 23 occurrence of the Effective Date, the primary representative of the above-captioned
 24 Debtors’ estates in claims objection proceedings is Arch & Beam Global, LLC, in its
 25 capacity as Plan Administrator.
 26          6.     Pursuant to the Plan, the deadline to object to claims was 120 days after the
 27 Effective Date, or January 28, 2016, with the Plan Administrator and other interested
 28 parties retaining the right to seek extensions of the deadline.

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  1          7.     On January 27, 2016, the Plan Administrator filed its Motion to Extend
  2 Deadline to Object to Claims (Dkt. 766) (the “First Motion”), seeking an extension of the
  3 Claim Objection Deadline to May 26, 2016. The Court entered an order granting the First
  4 Motion on February 22, 2016 (Dkt. 774). On May 25, 2016, the Plan Administrator filed
  5 its Second Motion to Extend Deadline to Object to Claims (Dkt. 789), seeking an extension
  6 of the Claim Objection Deadline to September 26, 2016 (the “Second Motion”). The Court
  7 entered an order granting the Second Motion on June 20, 2016 (Dkt. 801). On September
  8 16, 2016, the Plan Administrator filed its Third Motion to Extend Deadline to Object to
  9 Claims, seeking an extension of the Claim Objection Deadline to January 26, 2017 (Dkt.
 10 830). The Court entered an order granting the Third Motion on October 11, 2016 (dkt.
 11 833). On January 25, 2017, the Plan Administrator filed its Fourth Motion to Extend
 12 Deadline to Object to Claims (the “Fourth Motion”) (Dkt. 905), seeking an extension of
 13 the Claim Objection Deadline to May 26, 2016. The Court entered an order granting the
 14 Fourth Motion on February 21 2017 (dkt. 908). On May 25, 2017, the Plan Administrator
 15 filed its Fifth Motion to Extend Deadline to Object to Claims, seeking an extension of the
 16 Claim Objection Deadline to September 26, 2017 (the “Fifth Motion”) (dkt. 910). The
 17 Court entered an order granting the Fifth Motion on June 20, 2017.
 18          8.     On September 26, 2017, the Plan Administrator filed its Sixth Motion to
 19 Extend Deadline to Object to Claims, seeking an extension of the Claim Objection
 20 Deadline to March 26, 2018 (the “Sixth Motion”) (Dkt. 915). The Court entered an order
 21 granting the Sixth Motion on October 23, 2017 (Dkt. 919). On March 22, 2018, the Plan
 22 Administrator filed its Seventh Motion to Extend Deadline to Object to Claims, seeking an
 23 extension of the Claim Objection Deadline to September 26, 2018 (the “Seventh Motion”)
 24 (dkt. 924). The Court entered an order granting the Seventh Motion on April 13, 2018 (dkt.
 25 929).
 26          9.     On September 14, 2018, the Plan Administrator filed its Eighth Motion to
 27 Extend Deadline to Objection to Claims (the “Eighth Motion”) (dkt. 933), seeking an
 28 extension of the Claim Objection Deadline to March 26, 2019. On October 16, 2018, the

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  1 Court entered an Order approving the Eighth Motion (the “Order”), which Order provided
  2 that “the extension of time granted herein is without prejudice to the Plan Administrator’s
  3 ability to request additional time should it become necessary.” (Order, ¶3)
  4          10.    There are several hundred outstanding claims in the Bankruptcy Cases, most
  5 of them in the Second Street Properties case.
  6          11.    While the Plan Administrator has completed its process of reviewing and
  7 objecting to the claims in these cases, the Second Street Properties estate remains
  8 secondarily liable for any ERISA withdrawal liability triggered by Pacific Steel Casting
  9 Company LLC, the Court-approved buyer of its former steel casting business (the
 10 “PSCC”), until July 1, 2020.
 11          12.    In October of 2017, PSCC announced that it would be shutting down its
 12 business operations, and recently filed a Chapter 7 bankruptcy case (Case No. 19-40193).
 13 On December 28, 2017, the Plan Administrator received a letter from the pension trust
 14 overseeing the multi-employer pension plan that covered Second Street Properties’ former
 15 employees and the current employees of the buyer of the steel casting business asserting
 16 that in excess of $24 million in withdrawal liability under ERISA has now been triggered
 17 due to PSCC’s cancellation of a bond. The Debtors submitted a timely response and
 18 challenge to the asserted withdrawal liability, though the parties have not proceeded to
 19 litigation over the amount of withdrawal liability as they are continuing to focus on
 20 working together to sell the real estate owned by Berkeley Properties which serves as
 21 collateral for the asserted withdrawal liability. The Plan Administrator expects the sale
 22 process to take at least six months, and possibly longer. Thus, in order to preserve the
 23 ability to object to the pension trust’s withdrawal liability claim, the Plan Administrator
 24 would like to extend the Claim Objection Deadline for six months, to September 26, 2019.
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  1                 I declare under penalty of perjury under the laws of the United States of
  2 America that the foregoing is true and correct. Executed on March 22, 2019, at San
  3 Francisco, California.
  4                                                    /s/ Michael M. Lauter __
                                                       MICHAEL M. LAUTER
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                                                                                 LAUTER17 5of
                                                                                        DECLARATION
                                              of
                                              245
  1 ORI KATZ, Cal. Bar # 209561
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  2 MICHAEL M. LAUTER, Cal. Bar # 246048
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    Four Embarcadero Center, 17th Floor
  5 San Francisco, California 94111-4109
    Telephone: (415) 434.9100
  6 Facsimile: (415) 434.3947
  7 Attorneys for Arch & Beam Global, LLC,
    the Plan Administrator
  8
  9                         UNITED STATES BANKRUPTCY COURT
 10                         NORTHERN DISTRICT OF CALIFORNIA
 11                                    OAKLAND DIVISION
 12 In re                                           Case No. 14-41045-RLE
                                                    Case No. 14-41048-RLE
 13 SECOND STREET PROPERTIES, a
    California corporation, f/k/a PACIFIC           Chapter 11
 14 STEEL CASTING COMPANY,
                                                    Cases Jointly Administered
 15                       Debtor.
                                                    NOTICE AND OPPORTUNITY FOR
 16 In re                                           HEARING ON NINTH MOTION TO
                                                    EXTEND DEADLINE TO OBJECT TO
 17 BERKELEY PROPERTIES, LLC, a                     CLAIMS
    California limited liability company,
 18                                                 [No Hearing Required Unless Requested]
                          Debtor.
 19
 20
                   TO THE HONORABLE ROGER L. EFREMSKY, UNITED STATES
 21
      BANKRUPTCY JUDGE; AND OTHER PARTIES IN INTEREST:
 22
                   PLEASE TAKE NOTICE that the Plan Administrator under the Debtors’
 23
      and Committee’s Second Amended Joint Chapter 11 Plan of Reorganization Dated April
 24
      30, 2015 (the “Plan”) in the above-captioned Chapter 11 cases has filed its Eighth Motion
 25
      to Extend Deadline to Object to Claims (the “Motion”). By the Motion, the Plan
 26
      Administrator seeks an order extending the deadline to object to claims (the “Claim
 27
      Objection Deadline”) for six months, to September 26, 2019. The Motion is based on this
 28

Case:
Case:SMRH:489799599.1
      14-41045
      14-41045 Doc#   Doc# 941
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                                                                                118ofHEARING
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                                                         NOTICE AND OPPORTUNITY
                                             24
  1 Notice, the Motion filed contemporaneously herewith, the declaration of Michael M.
  2 Lauter filed in support of the Motion, and all other pleadings, documents and evidence of
  3 record in this case.
  4                PLEASE TAKE FURTHER NOTICE that Bankruptcy Local Rule 9014-1
  5 of the United States Bankruptcy Court for the Northern District of California prescribes the
  6 procedures to be followed. Pursuant to Local Rule 9014-1(b)(3), any party wishing to
  7 respond to the Motion or request a hearing on the matter must file a written response to the
  8 Motion with the Bankruptcy Court within twenty-one (21) days from the date of the
  9 mailing of this Notice. Copies of any such response also must be served upon counsel for
 10 the Plan Administrator – Michael M. Lauter, Esq., Sheppard, Mullin, Richter & Hampton
 11 LLP, Four Embarcadero Center, 17th Floor, San Francisco, California 94111 – and must be
 12 accompanied by any declarations or memoranda of law the party responding or requesting
 13 a hearing wishes to present in support of its position. In the event a response or request for
 14 hearing is timely made, the Plan Administrator will give at least seven (7) days written
 15 notice of the hearing to the responding or requesting party, the Debtors, and the United
 16 States Trustee.
 17                PLEASE TAKE FURTHER NOTICE that your failure to file a timely
 18 response to the requested relief or request a hearing may result in an order granting the
 19 relief sought in the Motion by default pursuant to Bankruptcy Local Rule 9014-1(b)(4).
 20
 21 Dated: March 22, 2019              SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 22                                    By                    /s/ Michael M. Lauter
 23                                                         MICHAEL M. LAUTER

 24                                           Attorneys for Arch & Beam Global, LLC,
                                                            the Plan Administrator
 25
 26
 27
 28

Case:
Case:SMRH:489799599.1
      14-41045
      14-41045 Doc#   Doc# 941
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                                                         NOTICE AND OPPORTUNITY
                                             24
                      EXHIBIT 3




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                                         24
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  7
    Attorneys for Arch & Beam Global LLC,
  8 the Plan Administrator

  9
                                UNITED STATES BANKRUPTCY COURT
 10
                                NORTHERN DISTRICT OF CALIFORNIA
 11
                                          OAKLAND DIVISION
 12

 13
      In re                                            Case No. 14-41045-RLE
 14                                                    Case No. 14-41048-RLE
    SECOND STREET PROPERTIES, a
 15 California corporation, f/k/a PACIFIC STEEL        Chapter 11
    CASTING COMPANY,
 16                                                    Cases Jointly Administered
                   Debtor.
 17                                                    CERTIFICATE OF SERVICE
    In re
 18                                                    [No Hearing Required Unless Requested]
    BERKELEY PROPERTIES, LLC, a
 19 California limited liability company,

 20                  Debtor.
 21

 22       At the time of service, I was over 18 years of age and not a party to this action. I am
    employed in the County of San Francisco, State of California. My business address is Four
 23 Embarcadero Centerr 17th Floor, San Francisco, CA 94111.

 24           On March 22, 2018 I served the following documents described as follows:
 25           NINTH MOTION TO EXTEND DEADLINE TO OBJECT TO CLAIMS;
 26           NOTICE AND OPPORTUNITY FOR HEARING ON NINTH MOTION TO
              EXTEND DEADLINE TO OBJECT TO CLAIMS;
 27
              DECLARATION OF MICHAEL M. LAUTER IN SUPPORT OF NINTH
 28           MOTION TO EXTEND DEADLINE TO OBJECT TO CLAIMS

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                                              24                         CERTIFICATE OF SERVICE
  1 on the interested parties in this action as follows:

  2         BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
             document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the
  3          case who are registered CM/ECF users will be served by the CM/ECF system.

  4                                        See attached Service List

  5         BY MAIL: I enclosed the document(s) in sealed envelopes and/or packages addressed to
             the persons at the addresses listed on the Service List and placed the envelops for
  6          collection and mailing, following our ordinary business practices. I am “readily familiar”
             with the firm’s practice of collection and processing correspondence for mailing. Under
  7          that practice it would be deposited with the U.S. postal service on that same day with
             postage thereon fully prepaid at Los Angeles, California in the ordinary course of business.
  8          I am aware that on motion of the party served, service is presumed invalid if postal
             cancellation date or postage meter date is more than one day after date of deposit for
  9          mailing in affidavit.

 10                                        See attached Service List

 11         STATE: I declare under penalty of perjury under the laws of the State of California that
             the foregoing is true and correct.
 12
            FEDERAL: I declare that I am employed in the office of a member of the bar of this
 13          Court at whose direction the service was made. I declare under penalty of perjury under
             the laws of the United States of America that the foregoing is true and correct.
 14
                     Executed on March 22, 2019, at San Francisco, California.
 15

 16
                                                       /s/ Laverna Henry
 17                                                    Laverna Henry
 18

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                                              24                         CERTIFICATE OF SERVICE
  1                                         SERVICE LIST

  2        ECF SERVICE LIST
  3    •   Daniel M. Anderson       daniel.anderson@icemiller.com, sandy.heaberlin@icemiller.com
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  5    •   Geva Baumer        geva@baumeratlaw.com
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  7    •   Laura E. Curtis     , mmarshall@littler.com
  8    •   Todd Dressel      tdressel@mcguirewoods.com, JTabisaura@mcguirewoods.com
  9    •   Robert K. Edmunds       redmunds@parksandsolar.com
 10    •   Scott Fink     brodellecf@weltman.com
 11    •   Sid Garabato      sgarabato@epiqsystems.com
 12    •   Matthew A. Gold       courts@argopartners.net
 13    •   Debra I. Grassgreen     , hphan@pszjlaw.com
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 15    •   Andrew P. Holland       aholland@thoits.com, khourmand@thoits.com
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 17    •   David C. Johnston      david@johnstonbusinesslaw.com
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 23    •   Michael Lauter      mlauter@sheppardmullin.com

 24    •   Kenneth T. Law       klaw@bbslaw.com

 25    •   Iain A. Macdonald      iain@macfern.com, ecf@macfern.com

 26    •   Michael W. Malter      michael@bindermalter.com

 27    •   Dennis D. Miller      dmiller@lubinolson.com

 28    •   Kathleen M. Miller      kmiller@skjlaw.com


Case:SMRH:489866940.1
      14-41045 Doc# 942         Filed: 04/16/19 Entered: 04/16/19 08:51:03 Page 23 of
                                             24                         CERTIFICATE OF SERVICE
  1     •   Kevin M. O'Malley        Omalley@BlankRome.com
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  4     •   Ryan Penhallegon      rpenhallegon@structurelaw.com, ccavazos@structurelaw.com

  5     •   Mark D. Poniatowski       ponlaw@ponlaw.com

  6     •   Julie H. Rome-Banks       julie@bindermalter.com

  7     •   Alan J. Romero      ajr@romerolaw.com, firm@romerolaw.com

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  9     •   Martha J. Simon      mjs@mjsimonlaw.com, mjsecf@gmail.com

 10     •   Alan D. Smith      adsmith@perkinscoie.com, al-smith-9439@ecf.pacerpro.com

 11     •   Wendy W. Smith       Wendy@bindermalter.com

 12     •   Louisa A. Soulard     Soulard.Louisa@pbgc.gov, efile@pbgc.gov

 13     •   Cynthia Stier     cynthia.stier@usdoj.gov

 14     •   Sarah M. Stuppi     sarah@stuppilaw.com

 15     •   Marcel Weiland      mpw@seethebenefits.com, kwr@seethebenefits.com

 16     •   Douglas Wolfe       dwolfe@asmcapital.com

 17         U.S. MAIL SERVICE LIST
 18

 19

 20   Office of the U.S. Trustee
      1301 Clay Street, Suite 690n
 21   Oakland, CA 94612-5217

 22

 23

 24

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                                              24                         CERTIFICATE OF SERVICE
